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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                    )
EIG ENERGY FUND XIV, L.P., et al.,                  )
                                                    )
                              Plaintiffs,           )
                                                    ) Civil Action No. 1:16-cv-333-APM
                       v.                           )
                                                    )
PETRÓLEO BRASILEIRO S.A., et al.,                   )
                                                    )
                              Defendants.           )
                                                    )

                            DEFENDANT’S NOTICE OF APPEAL

       Notice is hereby given that Defendant Petróleo Brasileiro S.A.—PETROBRAS

is appealing to the United States Court of Appeals for the District of Columbia Circuit from the

Court’s Order of July 30, 2019 denying Defendant’s Motion to Stay Pending Arbitration (ECF

No. 108).



Dated: August 29, 2019                                Respectfully submitted,

                                              By:     /s/ Robert B. Wolinsky
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